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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN

CHARLES JONES, as Personal Representative
of the Estate of Wade Jones, Deceased,
                                                                      Case No: 1:20-cv-00036
                                                                   Hon. Judge Hala Y. Jarbou
       Plaintiff,                                              Magistrate Judge Sally J. Berens
v.

COUNTY OF KENT et al.

       Defendants.

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  CORIZON DEFENDANTS’ MOTION IN LIMINE TO PRECLUDE PLAINTIFF’S
 NURSING EXPERT, STEPHEN FURMAN, CCRN, FROM OFFERING TESTIMONY
  REGARDING THE APPLICABLE STANDARD OF CARE FOR THE CORIZON
                      NURSING DEFENDANTS


Exhibit A      Stephen Furman CCRN- Expert Report
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